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                              United States District Cou t                                                          FEB 2 I 2018
                                      SOUTHERN DISTRICT OF CALIFORNIA



         UNITED STATE:. OF AMERICS                   E    ,,{}~ ~~:ci             WARRANT FOR ARREST
                                                                                  I


                                                                              Case Number:              l 7cr3690-AJB
               Morgan Rockcoons,
       aka: Morgan Rockwell, aka: Metaballo

                                                                              N9T F9R A' '81:1€ >uc>ot
To:     The United States Marshal
                                                                                        UllS~llLED   PER ORDER OF CllUllT
        and any Authorized United States Officer
                                                                                                                             ~/.;i~llS
      YOU ARE HEREBY COMMANDED to ~rrest                                                Morgan Rockcoons
                                                                                                 Name

and bring him or her forthwith to the nearest magistrate to answer a(n)                                                '"'· ..)
                                                                                                                       '"-"'        .Cl!
~ Indictment      D   Information   D   Complaint   D   Orderof Court         D   Violation Notice    D     Probation \7rJ1ation P:ilition
                                                                                                                       z        =t
                                                                                                              etrial Vi~ion :7? ~-: ~             ;u

charging him or her with (brief description ofoffense):                        nA,;(;\\~                .
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                                                                                                                                  - ., : f ·'1
                                                                                                                                              . ;'.')
18:1956(a)(3)(B) - Laundering of Monetary Instruments       d'                                                                                    -
18:1960(a)- Operation of Unlicensed Money Transmitting Busine                                                                          ·' ::::~ !~
                                                                                                                                       ',I~
                                                                                                                                    ;,. ) II"'•
18:982- Criminal Forfeiture                                                                                                         ~·I

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                                                                                                                                   '""

                               See.Above
In violation of Title     --'-             - - - Uniter<! States Code, Section(s)             ~~~~~~~~~~~-




                                                                .'   -~t'J

John Morrill                                                     derk of the Court
Name oflssuing Officer                                           Title oflssuing Officer


s/ L Cervantes                                                   11/08/2017, San Diego, CA
Signature of Deputy                                             Date and Location


Bail fixed at $                     No Bail                     by                The Honorable Bernard G, Skomal
                                                                             ~~~~~~~~~~~~~~~~~~-




                                                                                           Name of Judicial Officer


                                                            RETURN
 This warrant was received and executed with the arrest of the above-named defendant at

 DATE RECEIVED                 NAME AND TITLE OF ARRESTING OFFICER                      SIGNATURE OF ARRESTING OFFICER

 DATE OF ARREST


                                                                                           -~r
